Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 1 of 27 PageID #: 1980




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Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 2 of 27 PageID #: 1981
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 3 of 27 PageID #: 1982
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 4 of 27 PageID #: 1983
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 5 of 27 PageID #: 1984
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 6 of 27 PageID #: 1985
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 7 of 27 PageID #: 1986
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 8 of 27 PageID #: 1987
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 9 of 27 PageID #: 1988
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 10 of 27 PageID #: 1989
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 11 of 27 PageID #: 1990
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 12 of 27 PageID #: 1991
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 13 of 27 PageID #: 1992
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 14 of 27 PageID #: 1993
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 15 of 27 PageID #: 1994
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 16 of 27 PageID #: 1995
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 17 of 27 PageID #: 1996
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 18 of 27 PageID #: 1997
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 19 of 27 PageID #: 1998
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 20 of 27 PageID #: 1999
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 21 of 27 PageID #: 2000
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 22 of 27 PageID #: 2001
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 23 of 27 PageID #: 2002
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 24 of 27 PageID #: 2003
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 25 of 27 PageID #: 2004
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 26 of 27 PageID #: 2005
Case 1:23-cv-00975-RGA-SRF Document 33 Filed 03/04/24 Page 27 of 27 PageID #: 2006
